Case 2:10-cv-14942-RHC-RSW ECF No. 1-1, PagelD.12 Filed 12/14/10 Page 1 of 6

ATTACHMENT A
Case 2:10-cv-14942-RHC-RSW ECF No. 1-1, PagelD.13 Filed 12/14/10 Page 2 of 6

Kirkstall Road Enterprises, Inc.
609 Greenwich Street, 9" Floor
New York, NY 10014

As of December 16, 2009

Detroit Police Department
1300 Beaubien, Police Headquarters
Detroit, MI 48226
Attn: Chief Warren C. Evans

CONFIDENTIAL

Re: “THE FIRST 48” Access Agreement

Dear Chief Evans,

This letter agreement (“Agreement”) sets forth the terms and conditions between Kirkstall
Road Enterprises, Inc. (“Producer”) and the Detroit Police Department (the “Department”), in
connection with the filming and recording by Producer of the television series currently
known as “The First 48” (the “Serfes”) in and around Detroit, Michigan. The Series ts
intended for initial exhibition on one of A&E Television Network’s Programming Services
(the “Network”). in consideration of the promises and covenants set forth in this Agreement,
the parties agree as follows:

I. Term. The term of this Agreement shall commence upon the date set forth above and
shall continue for a period of one (1) year (the “Term”). Upon mutual agreement between the
Department and Producer, the Term of the Agreement may be extended for four (4)
additional one (1) year periods. For the avoidance of doubt, the parties may agree to extend
the Term for an additional year at any point during the initial Term of this Agreement, and
extensions may be agreed to at any time during the applicable Term. Either party may
terminate this agreement upon sixty (60) days written notice to the other party.
Notwithstanding the expiration or termination of this Agreement for any reason whatsoever,
the conditions and provisions of this Agreement that are intended to continue and survive
(including, but not limited to, grant of rights, ownership, representations and warranties,
indemnities, etc.) shal! survive the expiration or earlier termination of this Agreement.

access to the Department generally, including, without limitation, access to the Department.
premises and/or locations owned and/or controlled by the Department as Producer may
reasonably require during the Term. For security purposes, Producer shall provide the
Department with details of each member of the field production crew as requested by the
Department. The Department shall advise Producer of any defects or dangers of which it ts.
aware in relation to any premises over which it owns and/or controls. Furthermore, the
Department grants Producer access to Department officers, personnel, employees and agents
(collectively, the “Personnel”) necessary for the Series during the Term and any extension
thereof. Subject to the provisions in Paragraph 3(a) below, the Department shall authorize
Personnel to allow video and audio recorded during production as is reasonably necessary to

2 Access. The Department grants and will use its best efforts to facilitate Producer’s

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' Case 2:10-cv-14942-RHC-RSW ECF No. 1-1, PagelD.14 Filed 12/14/10 Page 3 of 6

capture an innovative and documentary experience of the Personnel in the context of the
Series.

3. Producer’s Obligations.

a. Producer acknowledges. and agrees that in order to protect the integrity of the
Department's work, maintain the safety of officers, the public and Producer's personnel, and
to minimize liability to the Department, Producer shall comply with all instructions and
restrictions (including instructions and restrictions on. filming or recording) as directed by the
Department for purposes of the foregoing, in the Department’s sole discretion, at any and all
filming locations. Any filming by Producer and the work of Producer’s personnel shall not
interfere in any manner whatsoever with the Department's performance of its duties. It is
understood that in exercising its discretion under this paragraph, the Department will act in a
manner that complies with all constitutional, statutory, or other legal requirements, as well as
Department policies, practices, procedures and legal advice pertaining to such requirements.

b. Producer acknowledges and agrees that it may not, during the course of
filming put the Department to any expense it would not otherwise ordinarily incur. All
filming will be done at no cost to the Department.

c, Producer shall be responsible for obtaining all necessary consents including
the written consent of Department Personnel featured in the Series and the Department
hereby confirms that the Department shall permit Department Personnel to voluntarily
providing consent to Producer’s filming.

d. Producer will provide certificates of insurance naming the City of Detroit as
additional insured on a claims made basis with an aggregate limit of One Million Dollars
(31,000,000).

4, Rights.

a, Producer intends to produce footage concerning the Department and _ its
Personnel at work and off duty, including, without limitation, conducting interviews (both
formal and informal) with Department Personnel, and capturing any and all footage of the
Department, Department Personne! and Department operations as Producer reasonably
requires to produce the Series. Subject to the limitations in Paragraph 3(a), the Department
hereby agrees and consents, and shall authorize the Department Personnel to agree and
consent, to the filming and recording of the Department, the Department Personne! and the
Department Personnel’s voices and likenesses at Producer's discretion (all of the foregoing,
the “Footage”) and the use of the Footage in whole or in part. Subject to the provisions of
Paragraph 5(a) below, the Department irrevocably grants to Producer, and shall authorize
Department Personnel to grant to Producer all rights and consent or waive the same so as to
permit the fullest use of the Footage or any part(s) thereof in all media, worldwide, in
perpetuity. The Department agrees, and shall authorize the Department Personnel! to agree
that the Footage, the Department Personnel likeness(es), photograph{s) and biographical
material about the Department and Department Personnel may be used for promotional
purposes relating to the Series. Notwithstanding the expiration or termination of this
Agreement for any reason whatsoever, Producer’s rights in and to the Footage as sel forth

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Case 2:10-cv-14942-RHC-RSW ECF No. 1-1, PagelD.15 Filed 12/14/10 Page 4 of 6

herein, and Network’s right to exploit the Footage and/or Series, shall survive the expiration
or earlier termination of this Agreement

b. The Department agrees that, as between the Department and Producer,
Producer shall own all right, title and interest in and to the Series and all elements thereof and
relating thereto (collectively the “Material”) and the Material will be solely created by the
undersigned as a “work made for hire” for Producer for use as part of an audio/visual work _
-within the meaning of U.S. Copyright Law; with Producer being deemed the sole author, and,
at all stages of completion, the sole and exclusive owner, of the Material and of all rights of
every kind or nature, whether now known or hereafter devised (including, without limitation,
all copyrights and all extensions and renewals of copyrights) in and to the Material in
perpetuity and throughout the universe and in all languages, with the right to use, exploit and
advertise the Material and the Series, in any form, matter and media, whether now known or
hereafter devised, without any obligation whatsoever, other than as described in this
Agreement, to the undersigned or any person or entity claiming through or on behalf of the
undersigned.

If, under any applicable law, the fact that the Material is a “work made for
hire” is not-effective'to place authorship and ownership of the Material and the Series and all
rights therein in Producer, or in the event that it is determined that the Material or any part
thereof does not constitute a “work make for hire” for Producer within the meaning of the
copyright laws of the United States, then to the fullest extent allowable and for the full term
of protection otherwise accorded to the undersigned under such applicable law, the
undersigned hereby assigns to Producer irrevocably, exclusively and perpetually all rights of
every kind in and to the Material throughout the universe and any and all of the
undersigned’s right, title and interest in the Serics and any other works now or hereafter
created containing the Material.

C. The Department irrevocably grants Producer the right to use the Department's
proprietary intellectual property, names, trademark(s), logos or trade names as well the
names and images of the Department (collectively, the “Department Images”) in and in
connection with the Series, as Producer may determine in its sole discretion. For the
avoidance of doubt, Producer shall have the right to use or refer to Department Images
visually and/or in dialogue as Producer shall determine in its sole discretion.

5. Department Review.

a. The Department shal! have the right to review the rough cut of each episode of
the Series to ensure factual. accuracy of the Footage contained in cach episode of the Series.
Due to very tight production schedules in connection with the Series and other exigencies of
production, Producer shall send to Second Deputy Chief John Roach or a designee (the
“Representative”) a copy of rough cut. The Depariment agrees to review the rough cut
containing the Footage immediately and return any comments to Producer within five (5)
business days of the Department's receipt of the applicable rough cut for review (the
“Review Period”). If Producer does not receive comments within the Review Period, the
Footage in such episode shall be deemed approved. If the Representative provides timely
comments pursuant to this paragraph, Producer shall meaningfully consult with the
Department and make good faith efforts to address such comments. Notwithstanding the
foregoing and subject to the provisions in Paragraph 5(b), as between Producer and the

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Case 2:10-cv-14942-RHC-RSW ECF No. 1-1, PagelD.16 Filed 12/14/10 Page 5 of 6

Department, Producer shall have the absolute discretion to determ ine the editorial content of
the Series and each episode thereof including, but nol limited to, theme, featured events and
story line.

.b - Producer acknowledges and agrees that the Series shall not contain (i) any
confidential investigatory, procedural and/or operational information conceming the
Department which would not be available to the general public or (ii).any footage the .
dissemination of which would violate any legal duty of the Department oF its Personnel,
subject:the Department to civil liability, or Violate any constitutional or legal right of. any
other individual (collectively, “Confidential Information”). Upon notification -in writing.
during the Review Period as set forth in paragraph 5(a) by the Representative objecting to the
use of any Confidential Information in the applicable episode of the Series, Producer shall
not include any such Confidential information in the Series. If no written objection of the
inclusion of any Confidential Information is made during the Review Period, such inclusion
shall be deemed approved.

6. Exclusivity. During the Term of this Agreement. the Department will not, prior toa
the first transmission of the first episode of Series featuring the Department extend the same
level of cooperation with another media company, in connection with and for the filming of
an observational documentary program OF series that features the Department’s homicide
division and its homicide investigations in a manner that is similar in theme or style of the
Series that may be broadcast on television; provided, however, that in the event the
Department seeks to enter into an agreement with another media company in connection with
a “cold case” homicide investigation program or series featuring the Department's homicide
division, the Department shall notify Producer prior to entering any such agreement.
Notwithstanding the foregoing, Department may participate in any other types of television
program (e.g., news programs, including, local news features) that are not similar in theme,
style or subject matter as the Series or engage in any media activity that the Department
routinely engages in the Department’s ordinary course of operation.

7. Representations and Warranties. The undersigned represents and warrants (i) it has
the right, power and authority to enter into this Agreement and to fulfill its obligations and
grant the rights hereunder; (ii) there is no contract with any other person, firm, corporation oF
entity which will in any way interfere with the rights granted to Producer hereunder or with
the performance of the Department's obligations under this Agreement, and (iii) there are no
additional permissions necessary for the Department to be able to grant the rights or fulfill its

obligations hereunder or any such additional permissions already have been obtained by

Department.
§. Miscellaneous.

a. “Producer shall be under no obligation to actually use the Footage in any
manner.

b. Producer shall at al! times defend, indemnify and hold the Department

harmiess from and against any and all claims, damages, liabilities, costs and expenses,
including reasonable outside attorney’s fees (collectively, “Claims”), arising out of any
broach of any of Producer's obligations contained herein and in connection with the
development, production and/or exploitation of the Series; provided. however, that the

Detroit Access Agreement v2 4

» Case 2:10-cv-14942-RHC-RSW ECF No. 1-1, PagelD.17 Filed 12/14/10 Page 6 of 6

foregoing defense and indemnification shall not apply to any Claims arising out of or
resulting from: (i) any breach of any of the Department’s representations, warranties or
agreements herein; or (ii)' malfeasance and/or gross negligence and/or other intentional
tortious acts or omissions committed by the Department and/or any of the Department’s
respective agents, employees, guests or invitees.

C. The Department shall not at any time issuc, authorize or participate in any
news story, magazine article or other publicity in connection with the Department's
participation in the Series or disclose any confidential information about the Series,. Producer
and/or the Network without Producer’s written consent in each instance. Notwithstanding
the foregoing and for the avoidance of doubt, this paragraph shall not prevent the Department
from releasing to the press and/or local news any information regarding a case that is featured
in or relates to the Series. Except for disclosure by Producer to a third party broadcaster and
in connection with the exploitation of the Series, the parties agree that this Agreement 1S
confidential and that they may not disclose the contents to any third party apart from their
professional advisors or as may be required by law.

d. Producer may assign any and all rights granted under this Agreement
including, without limitation, to the Network.

€. This Agreement represents a complete and binding contract between the
parties hereto, superseding any prior agreements, negotiations or understandings (written or
oral) between them and may not be amended or otherwise changed expect by a written
instrument signed by both Producer and the Department. The rights granted herein shall
inure to the benefit of Producer, its licensees, successors and assigns. This Agreement is
subject to and shall be governed by and construed in accordance with the laws of the State of
Michigan and, if applicable, the federal laws of the United States of America. Each party
hereby submits to the jurisdiction of the courts of the State of Michigan.

if the foregoing conforms to your understanding of the Agreement, please sign in the space
provided below. Upon full execution thereof, this Agreement shall be binding.

AGREED AND ACCEPTED

Detroit Police Department Kirkstall Road Enterprises, luc.
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